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 1   [Counsel on signature page]

 2                               UNITED STATES DISTRICT COURT

 3                            NORTHERN DISTRICT OF CALIFORNIA

 4                                        SAN JOSE DIVISION

 5   CONCORD MUSIC GROUP, INC., ET AL.,                 Case Number: 5:24-cv-03811-EKL-SVK

 6         Plaintiffs,                                  JOINT DISCOVERY SUBMISSION
                                                        REGARDING DISPUTE AS TO
 7         v.                                           SAMPLING PROTOCOL TO ADDRESS
 8   ANTHROPIC PBC,                                     PUBLISHERS’ RFP NOS. 50-51

 9         Defendant.                                   FILED UNDER SEAL

10                                                      Judge Eumi K. Lee
                                                        Magistrate Judge Susan van Keulen
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 1   Prompts and output like these—even if one in a million—are critically relevant to Publishers’

 2   claims and Anthropic’s willful infringement. They must be accounted for in deciding a sample size.

 3          This variance in the prevalence of prompts and output to be analyzed, the overlapping and

 4   subjective nature of the data, and the fact that much about the data to be analyzed remains unknown

 5   at this time all favor a larger sample size to ensure statistical significance. Ex. 1, Buchan Decl. ¶¶

 6   13-14, 19, 37. Publishers’ proposed 24.5-million-record sample will better allow the Parties to

 7   analyze both frequent and infrequent occurrences alike, ensuring any conclusions derived from the

 8   sample are more reliable and precise. Id. ¶¶ 30-37; In re Countrywide Fin. Corp. Mortg.-Backed

 9   Sec. Litig., 984 F. Supp. 2d 1021, 1033 (C.D. Cal. 2013) (“[T]o draw reliable conclusions about a

10   population based on a statistical sample, the sample size must be large enough to support those

11   conclusions.”). The larger the sample, the more precise the conclusions. Buchan Decl. ¶¶ 14, 37.

12          By comparison, Anthropic’s proposed 1-million-record sample is too small to account for

13   the more rare occurrences—such as Anthropic’s founder using Claude to search for Publishers’

14   lyrics, the very thing Anthropic denied designing Claude to do—that are still central to the case.

15          Anthropic also seeks to apply an “assumed prevalence rate” of 0.006% across the board.

16   But that one-size-fits-all approach is inappropriate here. As explained above, assuming any single

17   prevalence rate vastly oversimplifies the many unique types of prompts and output and different

18   issues to be analyzed. Publishers’ larger sample size takes these considerations into account.
19          Publishers’ proposed sample size is also more consistent with commonly accepted

20   surveying and sampling practices. Publishers’ sample size calculation is based on the following:

21      •   95% confidence level: Publishers understand that the Parties are in agreement on this figure.
22      •   5% relative margin of error: This margin of error is commonly utilized for sampling
            purposes, including rare event sampling, and comes with the added benefit of increasing
23          the precision of any estimates derived from the sample data. Buchan Decl. ¶ 29.
24      •   Anthropic’s “assumed prevalence rate” of 0.006%: Publishers are willing to accept,
25          arguendo, Anthropic’s assumed prevalence rate for purposes of calculating a sample size.

26   Based on these figures, a statistically significant sample is 24.5 million records. Id ¶¶ 34, 36.

27          By contrast, Anthropic’s proposed 1-million-record sample utilizes the same 95%

28   confidence level and 0.006% prevalence rate, but is premised on a much larger and less precise

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 1   least 14 million Claude records at a time (the equivalent of nine days). Hr’g Tr. 19:7–13 (Mar. 18,

 2   2025). Publishers’ proposal would require only that Anthropic process 24.5 million records (the

 3   rough equivalent of 14 days, which can be broken up into smaller portions of nine days or less).

 4          D.        Anthropic’s proposed approach will serve only its own ends.
 5          Finally, it bears emphasizing that the reason the Parties are undertaking this sample in the
 6   first place is to address Publishers’ RFPs 50-51, which seek production of Claude prompts and
 7   output relating to song lyrics. ECF No. 318 at 1. Over the course of the Parties’ discussions
 8   regarding this sample, however, it has become increasingly apparent that Anthropic is seeking to
 9   exploit this sample as an opportunity to buttress its own fair use defense—by focusing on “overall
10   Claude usage” beyond that at issue in Publishers’ RFPs 50-51—while at the same time limiting
11   production of the very lyrics-related records sought by Publishers’ RFPs. This is improper.
12   Anthropic cannot substitute its own objectives for Publishers’ in this manner. See, e.g., Friedman
13   v. 24 Hour Fitness USA, Inc., No. CV0606282AHMCTX, 2009 WL 10672797, at *1 (C.D. Cal.
14   Jan. 12, 2009) (“It would be unfair to limit Plaintiffs to the 200–member sample provided by the
15   Discovery Order and allow Defendant to use evidence regarding members outside the sample.”).
16          Given that Publishers’ RFPs 50-51 are the basis for this discovery dispute and the Court’s
17   order that the Parties develop a sampling protocol, and given that Publishers’ RFPs 50-51
18   specifically seek Claude prompts and output relating to song lyrics, the sample that the Parties
19   undertake must at a minimum allow for Publishers to identify and analyze a sufficient number of
20   the specific lyric-related prompts and output they request. Each such prompt and output is a
21   potentially new and separate act of infringement by Anthropic. Each is relevant to Publishers’
22   claims of direct infringement, secondary copyright infringement, and removal of copyright
23   management information, as well as Anthropic’s willfulness, damages, and other core issues.
24          For this purpose, Publishers seek a reasonably-sized sample—24.5 million records—that
25   balances Publishers’ entitlement to the documents they seek against the burden of that discovery.
26          Critically, Publishers’ proposed sample is sufficiently large to address both Publishers’
27   discovery and Anthropic’s goal of analyzing the sample for its own purposes, erring on the side of
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 1   small estimated prevalence rate from the pilot study merits a larger sample size, and vice versa.

 2   The parties negotiated the details of this pre-sample sample in good faith between March 31 and

 3   April 9, at which point Plaintiffs abruptly abandoned this approach and instead proposed, for the

 4   first time and without any mathematical rationale, a sample of 14 full days of data. This proposal

 5   would have resulted in a sample size of over 20 million records. Since then, Plaintiffs have

 6   modified their proposal to 8 full days of data—4 days pre-suit and 4 days post—for a sample size

 7   still totaling over 10 million records. This proposal is neither scientific nor reasonable.

 8          Anthropic has proposed a random sample of 1 million records. Under Anthropic’s proposal,

 9   1 million chat logs (i.e., user interactions containing both prompts and outputs) would be selected

10   randomly from across the 6-month universe of data. This sample is large enough to allow

11   meaningful conclusions about the entire dataset, but small enough to significantly reduce the

12   burden and expense of discovery into song-related prompts and outputs. Plaintiffs’ proposal of a

13   fixed sample of 10+ million records selected from 8 days of data is flawed in two respects: (1) it

14   is far larger than necessary to derive meaningful insights about the population in question, either

15   because it implicitly assumes an incomprehensibly low prevalence rate or uses a needlessly precise

16   margin of error; and (2) its focus on just 8 days of data—4 from before the complaint was filed

17   and 4 after—injects selection bias and is thus unlikely to be representative.
            A. Anthropic’s Sample Size of 1 Million Is An Appropriate Size to Draw Conclusions
18              Regarding the Overall Population
19          In order to realize the efficiencies of statistical sampling, a sample should be no larger than

20   necessary to achieve statistical validity. See Declaration of Qinnan (Olivia) Chen (“Chen Decl.”),

21   Ex. B ¶ 18. Sample size is typically calculated based on an estimated prevalence in the population

22   of the event being studied and the relative margin of error. Id. ¶ 5. If an expected prevalence rate

23   is unavailable, either a pilot study can be conducted to determine one, or a “guesstimate” can be

24   used.1 Here, the parties’ earlier search term negotiations and prompt and output productions thus

25   far demonstrate the relative rarity of the event being studied (prompts for or outputs containing

26   song lyrics), see Dkt. 302 at 6–7, 9, but not the precise prevalence rate.
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     1
28    See Chittaranjan Andrade, Sample Size and Its Importance in Research, 42 Indian J. Psych. Med. 102,
     103 (2020), available at https://pmc.ncbi.nlm.nih.gov/articles/PMC6970301/.
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 1          In the absence of a pilot study, Anthropic’s 1 million record sample is sufficiently

 2   representative to reflect even extremely rare events. See Chen Decl. ¶¶ 6–8. Using a 25% relative

 3   margin of error—widely accepted for extremely rare events—a sample size of 1 million would

 4   validly reflect events in the overall population with prevalence rates as low as 0.006%. Using a

 5   more stringent 20% relative margin of error, a 1 million record sample size would still capture

 6   events with prevalence rates as low as 0.01%. Id. ¶¶ 9–12. Any statistical power gained from a

 7   larger sample would be outweighed by the diminished efficiencies involved in running and

 8   reviewing the results from a larger sample. Id. ¶ 17–18; see also Fed. R. Civ. P. 26(b)(1) (courts

 9   must consider if “the burden or expense of the proposed discovery outweighs its likely benefit”).

10          To the extent Plaintiffs argue that a sample of 1 million is inadequate because it represents

11   too small a fraction of the overall population, that argument is unmoored from rigorous and

12   accepted statistical methods. See Chen Decl. ¶ 5 (setting forth the formula that “represents the

13   fundamental statistical approach to determining the minimum sample size needed to make valid

14   inferences about a very large dataset,” including “the one at issue here”). It is also unsupported by

15   case law in this Circuit, which recognizes that the fraction of a representative sample should

16   decrease as the total population (and burden) increases. See Guzman v. Chipotle Mexican Grill,

17   Inc., 2018 WL 6092730, at *3 (N.D. Cal. Nov. 21, 2018) (finding a 5% sample appropriate for a

18   “large” population of 43,000 and noting that courts imposed higher percentage samples for “much
19   smaller” populations); Heredia v. Sunrise Senior Living LLC, 2019 WL 7865176, at *6 (C.D. Cal.

20   Oct. 31, 2019) (finding a 15% sample of a 13,000 population “appropriately balances Plaintiffs’

21   discovery needs, Defendant’s burdens, and the privacy rights” of the individuals sampled and

22   noting that a larger sample “would be excessive”); Nia v. Bank of Am., N.A., 2023 WL 2583386,

23   at * 5 (S.D. Cal. Mar. 20, 2023) (considering the significant costs required to “process, review,

24   redact, and produce the proposed sample” in deciding to cut the sample size from 20% to 10%).

25          Plaintiffs’ insistence on a sample ten times the size that Anthropic proposes cannot be

26   supported by accepted statistical methods. See Deutsche Bank Nat’l Tr. Co. v. Morgan Stanley
27   Mortg. Cap. Holdings LLC, 289 F. Supp. 3d 484, 496 (S.D.N.Y. 2018) (“Properly done, statistical

28   sampling is not guesswork”). A sample of this size either assumes (a) an extraordinarily low
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 1   prevalence rate, far lower than the 0.01% or 0.006% already contemplated by Anthropic’s sample;

 2   or (b) an unnecessarily stringent relative margin of error. Id. ¶ 17. With respect to (a), Plaintiffs’

 3   position throughout this litigation has been the opposite: that Claude was designed to—and

 4   frequently does—respond to prompts requesting song lyrics. See, e.g., Dkt. 1 ¶ 11 (“Anthropic

 5   unlawfully enables, encourages, and profits from massive copyright infringement by its users”);

 6   Dkt. 179 at 2 (“Anthropic intended and expected its AI models to respond to requests for

 7   Publishers’ lyrics—as a feature, not a bug”); and Dkt. 225 at 10 (pointing to search results for the

 8   terms “lyric” and “song” to posit a “potentially huge volume of requests for lyrics by [Claude]

 9   users”). In their amended complaint filed last week, Plaintiffs allege that “literally millions of

10   Claude prompt and output records contain the term ‘lyric,’” and that this means that “[c]ountless

11   users . . . have prompted Claude for lyrics.” Dkt. 337 ¶¶ 9–10 (emphasis added). Plaintiffs now

12   conveniently treat lyric requests as extraordinarily rare events comparable to rare genetic diseases

13   or lightning strikes. If their claims have merit (which Anthropic disputes), Anthropic’s sampling

14   proposal is already more than adequate. And with respect to (b), Plaintiffs cannot explain why the

15   Court must exceed the margin of error standards that are routinely accepted by statisticians when

16   analyzing rare events. Chen Decl. ¶¶ 9, 17. Plaintiffs’ proposed sample size should be rejected.

17          B. Anthropic’s Proposed Sample Is Representative of the Entire Population

18          To extrapolate the results of a sample to the larger population, the sample “must be
19   randomly selected.” United States v. Nunez, 2021 WL 5494588, at *7 (D. Conn. Nov. 23, 2021).

20   “Random” means that every datapoint in the population has the same probability of becoming part

21   of the sample. See D. Freedman & D. Kaye, FJC, Manual on Scientific Evidence 230 (2011).

22   Scientific randomness “provides assurance of unbiased estimates.” Id; see also Chen Decl. ¶ 19.

23          Anthropic has proposed a true random sample: each Claude user interaction in the full

24   dataset would have an equal chance of being included. This would ensure the sample includes both

25   pre- and post-suit chat logs but does not suffer from any biases resulting from hand selecting chat

26   logs from non-representative periods, e.g., (1) weekends versus weekdays, or vice versa; (2)
27   months when Claude had a smaller userbase; and (3) periods of anomalous user activity (i.e.,

28   around the filing of Plaintiffs’ complaint when their agents were “investigating”). Chen Decl. ¶¶
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 1   19–22. Anthropic’s proposed sample would be unbiased and representative of the full population.

 2          Plaintiffs’ proposal is not random in the rigorous, scientific sense because it suffers from

 3   each of the above temporal biases. Id. “Hand-picking is almost certain to introduce a substantial

 4   amount of selection bias into the sample,” Rosenbohm v. Cellco P’ship, 2019 WL 2141901, at *2

 5   (S.D. Ohio May 16, 2019), objections overruled, 2019 WL 13507817 (S.D. Ohio July 24, 2019),

 6   and Plaintiffs can offer no rationale, grounded in established statistical methods, for introducing

 7   such biases, see also Freedman & Kaye, 230 (“Looser definitions of randomness are inadequate

 8   for statistical purposes.”). Their proposal is unlikely to produce representative results that would

 9   allow extrapolation to the larger population and should be rejected.

10          C. Regardless of the Contours of the Sample, Privacy Safeguards Are Needed

11          The parties also disagree on the privacy protections required in connection with this

12   sample. These chat logs represent the private communications of third-party Anthropic users. See

13   generally Dkt. 310 at 7–11. Unlike the prompts and outputs that Anthropic has produced thus far,

14   however, the prompts and outputs in the sample will not be filtered for relevance. Accordingly,

15   the privacy interests of the users associated with these chat logs are exceptionally strong. Cf.

16   Heredia, 2019 WL 7865176, at *4 (expressing “concern[] about the privacy interests” of the

17   individuals swept into a sample, and balancing those interests in ordering a sampling procedure).

18          To adequately protect these interests, Anthropic proposed—and Plaintiffs materially
19   agreed to—a set of modest procedures, including: (1) that the sample prompts and outputs as well

20   as any aggregate information and/or analysis would be designated Confidential or HC-AEO under

21   the Protective Order, subject to Plaintiffs’ right to challenge those designations; (2) that the sample

22   prompts and outputs would be de-identified, but to the extent any identifying information was not

23   removed from the record prior to disclosure, Anthropic would be given a reasonable opportunity

24   to remove it; and (3) that the sample would be accessible only on a secure platform.

25          Despite Plaintiffs’ initial assent to a set of privacy-protecting procedures, they withdrew

26   that assent when Anthropic would not agree to their’ proposal of 8 full days of data. Anthropic
27   respectfully requests that the Court incorporate these protections into a sampling protocol.

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 2   Dated: April 30, 2025                          Respectfully submitted,

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                                      SIGNATURE ATTESTATION
 1

 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document was obtained from all other signatories of this document. I declare under penalty of
 4   perjury that the foregoing is true and correct.
 5

 6    Dated: April 30, 2025                                         /s/ Timothy Chung
 7                                                                    Timothy Chung

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